
824 F.Supp.2d 602 (2011)
FRONTLINE PLACEMENT TECHNOLOGIES, INC., Plaintiff,
v.
CRS, INC., Defendant.
Civil Action No. 07-2457.
United States District Court, E.D. Pennsylvania.
February 8, 2011.
John E. McGlynn, Woodcock Washburn LLP, Philadelphia, PA, R. Scott Tewes, Tewes Law Group LLC, Duluth, GA, for Plaintiff.
Darrel C. Karl, E. Robert Yoches, Finnegan Henderson Farabow Garrett Dunner LLP, Washington, DC, Charles S. Marion, Noah S. Robbins, Pepper Hamilton LLP, Philadelphia, PA, for Defendant.

MEMORANDUM
EDUARDO C. ROBRENO, District Judge.

I. INTRODUCTION
Plaintiff Frontline Placement Technologies, Inc. ("Frontline" or "Plaintiff") filed this patent infringement and breach of contract suit against Defendant CRS, Inc. ("CRS" or "Defendant"), involving a service/technology that facilitates the replacing of absent workers with substitute workers.[1]
Before the Court are both parties' briefing on claim construction with proffered definitions for the disputed claim terms. For the reasons set forth below, the Court defines the claim terms as set out in the conclusion.

II. BACKGROUND
On June 18, 2006, Plaintiff Frontline Placement Technologies, Inc. filed this patent infringement and breach of contract suit against Defendant CRS, Inc., involving a service/technology that facilitates the replacing of absent workers with substitute workers. Therein, Plaintiff alleged patent infringement of the product called "Aesop" (the '151 Patent), which is described as a labor database wherein customers access a website to post worker absences for which substitutes are needed. Substitute workers then access Aesop to *603 search for posted worker absences and to commit to filling vacancies. Users access Aesop via the internet using a web interface or via a telephone interactive voice response (IVR) system. (See Am. Compl. ¶ 9.)
Frontline's predecessor, Frontline Data, patented this technology in January 2004. In February 2004, Frontline Data filed a patent infringement suit against CRS and a settlement agreement was reached in November 2004 whereby Frontline Data would license its technology to CRS in return for royalties.
On August 8, 2007, the Patent Trade Office ("PTO") granted an ex parte reexamination of claims 3 through 13 of Frontline's '151 Patent. Thus, the Court placed the action in suspense on November 19, 2007. During the PTO reexamination claims 14 through 55 were added to the '151 Patent and claims 3, 6, 9, and 14-55 claims were listed in the reexam certificate as patentable. (See Am. Compl. ¶ 32, Ex. C.)
On September 30, 2008, during the '151 reexamination period, U.S. Patent No. 7,430,519 (the '519 Patent), titled "Substitute Fulfillment System" and a continuation-in-part of the '151 Patent, was legally issued by the PTO in the names of Roland R. Thompson, Michael S. Blackstone, and Ralph Julius. (Id. at ¶ 33-34.) Frontline is assignee and owner of the '519 Patent.
On January 14, 2010, Frontline filed its Amended Complaint, alleging that CRS has infringed or continued to infringe the reexamined '151 Patent associated with CRS's SubFinder. CRS's SubFinder is a program that facilitates the replacement of absent teachers with substitute teachers. Frontline also alleges that CRS has infringed or continues to infringe the '519 Patent with CRS's SubFinder. Therein, Frontline alleges both (1) patent infringement and (2) breach of contract claims and is seeking damages.
On February 3, 2010, CRS filed its Amended Answer and raised various affirmative defenses and counterclaims, stating that Frontline has breached the limited license agreement for the '151 Patent and denying all claims for the '519 Patent infringement.[2] CRS requests declaratory judgment on the grounds that: (1) there was no breach of contract on the part of CRS; (2) there was no patent infringement for either the '151 or '519 Patents on the part of CRS; and (3) Frontline maintained an invalid patent.
On February 23, 2010, Frontline filed an amended reply denying CRS's counterclaims and asserting various affirmative defenses including, but not limited to failure to state a claim, unclean hands, patent invalidity, estoppel, laches, and "most favored nation treatment" failure of a condition precedent.
On March 19, 2010, the parties filed a joint Rule 26(f) report. (Doc. no. 32). Therein, the parties propose a discovery plan, with the idea of bifurcating discovery into 2 phases. Phase One would include patents-in-suit discovery; specifically focusing on: whether CRS's modified system infringes the patents-in-suit. Phase Two, would take place to the extent further *604 discovery on particular issues was necessary.

III. DISCUSSION
Before the Court are both parties' briefing on claim construction with proffered definitions for disputed claim terms. Frontline asserts that CRS infringed the following claims:
 '151 Patent: Claims 3, 6, 7, 16, 24, and 33
 '519 Patent: Claims 10, 13, 24, 25, and 30
The Claims can also be broken down by types:
 Method Claims: For Patent '151 (Claims 3, 16, 24, and 33) and for Patent '519 (Claim 10)
 Claims to a System: For Patent '151 (Claims 6 and 7) and for Patent '519 (Claims 24 and 25)
 Claims to a Computer-Readable Medium: For Patent '519 (Claims 13 and 30)
The Court will first address the relevant law and then apply the law to each set of related claim terms that are disputed.

A. Legal Principles of Claim Construction
A court's analysis of patent infringement is comprised of a well-established two-step process: (1) the meaning of disputed claims are construed; and (2) the allegedly infringing device is compared to the claims as construed. Markman v. Westview Instruments, Inc., 52 F.3d 967, 976 (Fed.Cir. 1995), aff'd, 517 U.S. 370, 116 S.Ct. 1384, 134 L.Ed.2d 577 (1996); Wavetronix LLC v. EIS Electronic Integrated Sys., 573 F.3d 1343, 1354 (Fed.Cir.2009). With respect to the first step, "[t]he purpose of claim construction is to determine the meaning and scope of the patent claims that the plaintiff alleges have been infringed." Every Penny Counts, Inc. v. American Express Co., 563 F.3d 1378, 1382 (Fed. Cir.2009) (citing O2 Micro Int'l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1360 (Fed.Cir.2008)).
It is axiomatic that the claims define the scope of the patent. Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed.Cir.2005) (en banc) (internal citations omitted); see also, Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d 1111, 1115 (Fed.Cir.2004); Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed.Cir.1996). Therefore, the Court must first look to the words of the claims themselves in order to ascertain their meaning. Vitronics Corp., 90 F.3d at 1582; see also Renishaw PLC v. Marposs Societa' per Azioni, 158 F.3d 1243, 1248 (Fed.Cir.1998) ("[T]he claims define the scope of the right to exclude; the claim construction inquiry, therefore, begins and ends in all cases with the actual words of the claim").

1. Plain and Ordinary Meaning
Claim terms must be initially interpreted according to their ordinary and customary meaning. Genzyme Corp. v. Transkaryotic Therapies, Inc., 346 F.3d 1094, 1106 (Fed.Cir.2003). Undefined claims terms are to be given an ordinary and customary meaning "as understood by a person of ordinary skill in the art at the time of the invention." Gemtron Corp. v. Saint-Gobain Corp., 572 F.3d 1371, 1378 (Fed.Cir. 2009). As explained by the Federal Circuit:
Because the meaning of a claim term as understood by persons of skill in the art is often not immediately apparent, and because patentees frequently use terms idiosyncratically, the court looks to `those sources available to the public that show what a person of skill in the art would have understood disputed claim language to mean,' including `the words of the claims themselves, the remainder of the specification,' the prosecution history, and extrinsic evidence *605 concerning relevant scientific principles, the meaning of technical terms, and the state of the art.
Phillips, 415 F.3d at 1314 (quoting Innova, 381 F.3d at 1116).

2. Intrinsic Evidence
Where a court cannot properly construe a claim based on the plain meaning, it is necessary to examine the intrinsic record of the claims, which includes the specification and the prosecution history. Masco Corp. v. United States, 303 F.3d 1316, 1324 (Fed.Cir.2002) (citing Vitronics Corp., 90 F.3d at 1582) (holding such intrinsic evidence to be "the most significant source of the legally operative meaning of disputed claim language"). The specification contains a written description of the invention which must be clear and complete enough to enable the specification provides necessary context for understanding the claims, and "is always highly relevant to the claim construction analysis." Phillips, 415 F.3d at 1315 (quoting Vitronics Corp., 90 F.3d at 1582). Therefore, a patentee can act as his own lexicographer in the patent specification by defining a term with particularity that already has an ordinary meaning to a person of skill in the art. Merck &amp; Co., Inc. v. Teva Pharma. USA, Inc., 395 F.3d 1364, 1370 (Fed.Cir.2005) (internal citation omitted); Phillips, 415 F.3d at 1321 ("[T]he specification `acts as a dictionary when it expressly defines terms used in the claims....'") (internal quotation omitted).
On the other hand, "[w]hen consulting the specification to clarify the meaning of claim terms, courts must take care not to import limitations into the claims from the specification." Abbott Labs. v. Sandoz, Inc., 566 F.3d 1282, 1288 (Fed.Cir.2009). Limitations contained in the specification should be applied judiciously and courts should refrain from restricting broader claim language to a single embodiment described in the specification, "unless the patentee has demonstrated a clear intention to limit the claim scope using `words or expressions of manifest exclusion or restriction.'" Id. (quoting Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898, 906 (Fed.Cir.2004)); see also Bell At. Network Servs., Inc. v. Covad Commc'ns. Group, Inc., 262 F.3d 1258, 1271 (Fed.Cir. 2001) ("[W]hen a patentee uses a claim term throughout the entire patent specification, in a manner consistent with only a single meaning, he has defined that term `by implication.'") (internal quotation omitted).
Along with the specification, the prosecution history is "intrinsic evidence" of the meaning of the claims, because it "provides evidence of how the [United States Patent &amp; Trademark Office ("PTO")] and the inventor understood the patent." Phillips, 415 F.3d at 1317. The prosecution history is comprised of the original application, communications between the patent applicant and the patent examiner, changes to the patent application, prior art cited during the patent examination, and other pertinent documents. See Rheox. Inc. v. Entact, Inc., 276 F.3d 1319, 1326 (Fed.Cir. 2002) (noting that the totality of the prosecution history includes "amendments to claims and arguments made to overcome or distinguish references.") (citing Elkay Mfg. Co. v. Ebco Mfg. Co., 192 F.3d 973, 979 (Fed.Cir.1999)). Though ambiguities during negotiations between the PTO and inventor may occur, "the prosecution history can often inform the meaning of the claim language by demonstrating how the inventor understood the invention and whether the inventor limited the invention in the course of prosecution, making the claim scope narrower than it would otherwise be." Abbott Labs., 566 F.3d at 1288 (quoting Phillips, 415 F.3d at 1317). Statements made during prosecution can serve to disavow the scope of the patent, but only in situations where the disclaimer is unambiguous. See id.; Computer Docking *606 Station Corp. v. Dell, Inc., 519 F.3d 1366, 1374 (Fed.Cir.2008) ("[A] patentee may limit the meaning of a claim term by making a clear and unmistakable disavowal of scope during prosecution.") (quoting Purdue Pharma L.P. v. Endo Pharms., Inc., 438 F.3d 1123, 1136 (Fed.Cir.2006)); Southwall Tech., Inc. v. Cardinal IG Co., 54 F.3d 1570, 1576 (Fed.Cir.1995) ("The prosecution history limits the interpretation of claim terms so as to exclude any interpretation that was disclaimed during prosecution.") (citations omitted).

3. Extrinsic evidence
Beyond the claim language itself and the intrinsic record, a court is permitted to rely on extrinsic evidence, consisting of "all evidence external to the patent and prosecution history, including expert and inventor testimony, dictionaries, and learned treatises." Markman, 52 F.3d at 980. Extrinsic evidence is to be used to aid in a court's interpretation of the claim language, but "not for the purpose of varying or contradicting the terms of the claim." Id. (internal citation omitted); see Phillips, 415 F.3d at 1317 (extrinsic evidence is "less significant than the intrinsic record").

B. Disputed Claim Terms
There are sixteen (16) disputed terms for the Frontline Patents. These terms and the parties' proposed term constructions for these terms are as follows:

-----------------------------------------------------------------------------------------------------
                                      Plaintiff Frontline's          Defendant CRS's Proposed
       Terms &amp; Patent (s)           Proposed Construction               Construction
-----------------------------------------------------------------------------------------------------
  (1) acceptance                    No construction necessary.     "an expression by the
                                                                    substitute worker agreeing
  '151 Patent  (Claims 3, 6, 7,                                     to fill a position and
  16, 24, and 33)                                                   resulting in an automatic
                                                                    securing of the position
                                                                    when the electronic
                                                                    acceptance is received
                                                                    without further processing
                                                                    for fulfillment of the same
                                                                    position or further
                                                                    selection review"
-----------------------------------------------------------------------------------------------------
  (2) accepting                     No construction necessary.     "the substitute worker
                                                                    expressing agreement to fill
  '519 Patent (Claims 10 and                                        a position which results in
  13)                                                               an automatic securing of the
                                                                    position when the electronic
                                                                    acceptance is received
                                                                    without further processing
                                                                    for fulfillment of the same
                                                                    position or further
                                                                    election review"
-----------------------------------------------------------------------------------------------------
  (3) accepting                     No construction necessary.     "the second worker
                                                                    expressing agreement to fill
  '519 Patent (Claims 24 and                                        a position which results in
  25)                                                               an automatic securing of the
                                                                    position when the electronic
                                                                    acceptance is received
                                                                    without further processing
                                                                    for the fulfillment of the
                                                                    same position or further
                                                                    selection review"
-----------------------------------------------------------------------------------------------------
  (4) accepting                     No construction necessary.     "the worker expressing
                                                                    agreement to fill a position
  '519 Patent (Claim 30)                                            which results in an
                                                                    automatic securing of the
                                                                    position when the electronic
                                                                    acceptance is received
                                                                    without further processing
                                                                    for the fulfillment of


*607
                                                                    the same position or further
                                                                    selection review"
-----------------------------------------------------------------------------------------------------
  (5) securing, in response to      No construction necessary.     "automatically
  receiving the acceptance                                          electronically halting
  from the worker . . . the                                         further processing for the
  securing comprising halting,                                      fulfillment of the same
  at the  one or more                                               position by other substitute
  computers, further processing                                     workers upon electronic
  to  fulfill the posted position                                  receipt of an acceptance
  with any other substitute                                         from the substitute worker
  worker                                                            and filling the posted
                                                                    position with said
                                                                    substitute worker without
  '519 Patent (Claim 10)                                            further selection review
-----------------------------------------------------------------------------------------------------
  (6) securing, in  response to     No construction necessary.     "automatically halting
  the  receiving a response                                         further processing for the
  accepting step                                                    fulfillment of the same
                                                                    position by other substitute
                                                                    workers upon receipt of an
                                                                    acceptance from the
  '519 Patent Claim 13)                                             substitute worker and
                                                                    filling the posted position
                                                                    with said substitute worker
                                                                    without further selection
                                                                    review
-----------------------------------------------------------------------------------------------------
  (7) securing, in response to      No construction necessary.     "automatically halting
  the receiving a response                                          further processing for the
  accepting step                                                    fulfillment of the same
                                                                    position by other substitute
                                                                    workers upon receipt of an
                                                                    acceptance from the worker
  '519 Patent (Claim 30)                                            and filling the posted
                                                                    position with said worker
                                                                    without further selection
                                                                    review"
-----------------------------------------------------------------------------------------------------
  (8) securing, in response to      No construction necessary.     "automatically halting
  the receiving a response                                          further processing for the
  accepting step                                                    fulfillment of the same
                                                                    position by other workers
                                                                    upon receipt of an
                                                                    acceptance from the second
  '519 Patent (Claim 24 and 25)                                     worker and filling the
                                                                    posted position with said
                                                                    second worker without
                                                                    further selection review'
-----------------------------------------------------------------------------------------------------
  (9) securing, in response to      No construction necessary.     "automatically halting
  the  receiving a response                                         further processing for the
  accepting step                                                    fulfillment of the same
                                                                    position by other workers
                                                                    upon receipt of an
                                                                    acceptance from the worker
  '519 Patent (Claim 30)                                            and filling the posted
                                                                    position with said worker
                                                                    without further selection
                                                                    review"
-----------------------------------------------------------------------------------------------------
  (10) computer readable            Something on which              "any medium that
  medium                            information may be carried       participates in providing
                                    that is readable by a            instructions to a processor
  '519 Patent (Claims 13 and        computer                         for execution including, but
   30)                                                               not limited to, non-volatile
                                                                     media, volatile media, and
                                                                     transmission media such as,


*608
                                                                     for example, optical or
                                                                     magnetic discs, dynamic
                                                                     memory, coaxial cables,
                                                                     copper wire, fiber optics,
                                                                     conductors that comprise a
                                                                     bus, acoustic, or
                                                                     electromagnetic waves such
                                                                     as those generated during
                                                                     radio frequency and infrared
                                                                     data communications, floppy
                                                                     disks, flexible disks, hard
                                                                     disks, magnetic tape,
                                                                     magnetic media, CD-ROMs,
                                                                     DVDs, optical media, punch
                                                                     cards, paper tape, physical
                                                                     media with patterns of
                                                                     holes, RAMS. PROMS, EPROMs,
                                                                     FLASH-EPROMs, memory chips
                                                                     or cartridges, carrier
                                                                     waves, and other medium that
                                                                     a computer can read"
-----------------------------------------------------------------------------------------------------
  (11) substitute fulfillment       No construction necessary       "location of a replacement
                                                                     to fill a temporary employee
                                                                     absence in an organization"
  '151 Patent (Claim 3, 6, 7, 16,
   24, and 33)
  '519 Patent. (Claim 10, 13, 24,
  and 25)
-----------------------------------------------------------------------------------------------------
  (12) performing substitute        No construction necessary.      "performing centralized
  fulfillment                                                        substitute fulfillment"
  '151 Patent (Claim 3, 16, 24,
  and 33
  '519 Patent (Claim 10 and 13)
-----------------------------------------------------------------------------------------------------
  (13) substitute fulfillment       No construction necessary.      "centralized substitute
  system                                                             fulfillment system"
  '151 Patent (Claim 6 and 7)
  '519 Patent (Claims 10, 13,
  24, and 25)
-----------------------------------------------------------------------------------------------------
  (14) position fulfillment         No construction necessary.      "location of a worker to
                                                                      fill a position in an
                                                                      organization"
  '519 Patent (Claim 30)
-----------------------------------------------------------------------------------------------------
  (15) performing position          No construction necessary.      "performing centralized
  fulfillment                                                        position fulfillment"
  '519 Patent (Claim 30)
-----------------------------------------------------------------------------------------------------
  (16) providing, for one or        No construction necessary.      "providing by one or more
  more of the positions,                                             computers for one or more of
  information indicating directly                                    the positions, information
  or indirectly an organization                                      indicating directly or
  worksite location for                                              indirectly an organization
  the respective position                                            worksite location for the
                                                                     respective position on a
                                                                     website"


*609
  '151 Patent (Claims 3, 16, 24,
  and 33)
-----------------------------------------------------------------------------------------------------


C. Claim Construction by Claim Terms
The parties arguments over the proper construction of the claims are in the groupings that follow:

1. acceptance &amp; accepting (terms 1-4)

-----------------------------------------------------------------------------------------------------
                                      Plaintiff Frontline's            Defendant CRS's Proposed
  Terms &amp; Patent(s)                 Proposed Construction                  construction
-----------------------------------------------------------------------------------------------------
  (1) acceptance                    No construction necessary.       "an expression by the
                                                                      substitute worker agreeing
  '151 Patent (Claims 3, 6, 7,                                        to fill a position and
  16, 24, and 33)                                                     resulting in an automatic
                                                                      securing of the position
                                                                      when the electronic
                                                                      acceptance is received
                                                                      without further processing
                                                                      for fulfillment of the same
                                                                      position or further
                                                                      selection review"
-----------------------------------------------------------------------------------------------------
  (2) accepting                     No construction necessary.        "the substitute worker
                                                                      expressing agreement to fill
  '519 Patent (Claims 10 and                                          a position which results in
  13)                                                                 an automatic securing of the
                                                                      position when the electronic
                                                                      acceptance is received
                                                                      without further processing
                                                                      for fulfillment of the same
                                                                      position review"
-----------------------------------------------------------------------------------------------------
  (3) accepting                     No construction necessary.       "the second worker
                                                                      expressing agreement to fill
  '519 Patent (Claims 24 and                                          a position which results in
  25)                                                                 an automatic securing of the
                                                                      position when the electronic
                                                                      acceptance is received
                                                                      without further processing
                                                                      fox the fulfillment of the
                                                                      same position or further
                                                                      selection reviewer
-----------------------------------------------------------------------------------------------------
  (4) accepting                     No construction necessary.        "the worker expressing
                                                                       agreement to fill a position
  '519 Patent (Claim 30)                                               which results in an
                                                                       automatic securing of the
                                                                       position when the electronic
                                                                       acceptance is received
                                                                       without further processing
                                                                       for the fulfillment of the
                                                                       same position or further
                                                                       selection review"
-----------------------------------------------------------------------------------------------------

Frontline argues that this term uses common language that is clear and unambiguous, and should be used for its ordinary meaning. (Pl.'s Op. Br. 12.) CRS argues that the claim prosecution history of Frontline's patents is important here. Frontline was required to add the word "acceptance" to its '151 patent in order to distinguish Frontline's patent from prior art. Also, that the Patent Examiner relied on highly detailed definitions of these words that Frontline submitted during the prosecution process. Specifically, that once an "acceptance" occurs, the party *610 that made the acceptance has secured the position. That is, unlike prior art, there is no intermediary step. (Def.'s Op. Br. 15-17.)
Frontline responds that claim terms should be defined consistent with the specifications and as used in other claim terms within the same patent. The patents use "accept" and "acceptance" in other places that are consistent with the ordinary meaning of the word. Thus, because they are using it for the ordinary meaning of the word in the specifications, the ordinary meaning of the words should be applied to the claim terms as well. (Pl.'s Resp. 5.)
Frontline also responds that while it distinguished its product from the prior art, it did not limit the meaning of its claim terms through a disclaimer. See Purdue Pharma, 438 F.3d at 1136-1137; (Pl.'s Resp. 5-6.) Further, Frontline argues that CRS's language goes too far. While Frontline had stated that there is no additional process between acceptance and the substitute securing the position, it did not say that there is "no further review," which is the language that CRS wishes to introduce. (Pl.'s Resp. 7-8.) Frontline further responds that to use CRS's proposed language would make the claim terms incoherent.
"Under the doctrine of prosecution disclaimer, a patentee may limit the meaning of a claim term by making a clear and unmistakable disavowal of scope during prosecution." Purdue Pharma L.P. v. Endo Pharmaceuticals Inc., 438 F.3d 1123, 1136 (Fed.Cir.2006)(citing Seachange Int'l, Inc. v. C-COR Inc., 413 F.3d 1361, 1372-73 (Fed.Cir.2005); Omega Eng'g, Inc. v. Raytek Corp., 334 F.3d 1314, 1323-26 (Fed.Cir.2003)). "This may occur, for example, when the patentee explicitly characterizes an aspect of his invention in a specific manner to overcome prior art." Purdue Pharma, 438 F.3d at 1136 (citing Microsoft Corp. v. Multi-Tech Sys., Inc., 357 F.3d 1340, 1349 (Fed.Cir.2004) (interpreting "sending," "transmitting," and "receiving" limitations as requiring direct transmission over telephone line when patentee stated that invention transmits over a standard telephone line, thus disclaiming transmission over a packet-switched network)).
Frontline cannot debate that it did not affirmatively assert that its product was different from the prior art because in its patent there is no process that takes place between a substitute accepting an open position and that position being filled. Indeed, Frontline was not "describing a property" of the patent as in Purdue but made a much stronger distinction between the fundamentals of its product and the prior art regarding the automatic securing of the position without further processing.
However, there are a few problems with CRS's proposed language. While CRS's argument makes sense for the "acceptance" term in the '151 patent, it does not explain why the same is true for the terms in the '519 patent, except that the '519 patent comes later in time and that there were similar (but not as in depth) findings by the Patent Examiner. Additionally, CRS's language seems to go much farther than simply interjecting that there is no intermediary process between the substitute accepting the position and the position opening being removed. By including "automatically" in the definitions for "securing" below, CRS's concern is addressed without overly limiting the claim terms. Thus, the Court will not provide a definition for these terms.

2. claims involving "securing" (terms 5-9)

*611
                                       Plaintiff Frontline's        Defendant CRS's Proposed
  Terms &amp; Patent(s)                   Proposed Construction               Construction
(5) securing, in response to        No construction necessary.    "automatically electronically
receiving the acceptance                                          halting further processing for
from the worker ... the securing                                  the fulfillment of the same
comprising halting,                                               position by other substitute
at the one or more computers,                                     workers upon electronic receipt
further processing to                                             of an acceptance from
fulfill the posted position                                       the substitute worker and
with any other substitute                                         filling the posted position
worker                                                            with said substitute worker
                                                                  without further selection
                                                                  review"
'519 Patent (Claim 10)               No construction necessary.   "automatically halting further
(6) securing, in response to                                      processing for the fulfillment
the receiving a response                                          of the same position by other
accepting step                                                    substitute workers upon
                                                                  receipt of an acceptance from
'519 Patent (Claim 13)                                            the substitute worker and
                                                                  filling the posted position
                                                                  with said substitute worker
                                                                  without further selection
                                                                  review"
(7) securing, in response to         No construction necessary.   "automatically halting further
the receiving a response                                          processing for the fulfillment
accepting step                                                    of the same position by other
                                                                  substitute workers upon
'519 Patent (Claim 30)                                            receipt of acceptance from
                                                                  the worker and filling the
                                                                  posted position with said
                                                                  worker without further selection
                                                                  review"
(8) securing, in response to         No construction necessary.   "automatically halting further
the receiving a response                                          processing for the fulfillment
accepting step                                                    of the same position by other
                                                                  workers upon receipt of an
'519 Patent (Claim 24 and 25)                                     acceptance from the second
                                                                  worker and filling the posted
                                                                  position with said second
                                                                  worker without further selection
                                                                  review"
(9) securing, in response to        No construction necessary.    "automatically halting further
the receiving a response                                          processing for the fulfillment
accepting step                                                    of the same position by other
                                                                  workers upon receipt of an
'519 Patent (Claim 30)                                            acceptance from the worker
                                                                  and filling the posted position
                                                                  with said worker without further
                                                                  selection review"

Frontline argues that this term uses common language that is clear and unambiguous, and should be used for its ordinary meaning. (Pl.'s Op. Br. 12.) CRS's argument here is similar to the argument above regarding the "accepting" terms. CRS argues that the "securing" terms should also include language in their definitions showing that once a substitute worker accepts a position, that position is *612 "secured" in a way that stops any further processing ("i.e. the position is immediately secured"). CRS also argues that the securing step is performed electronically.
The analysis of the problem is the same as the analysis for "acceptance" and "accepting." Thus, the Court will define the terms by adding "automatically" before the securing terms.

3. computer readable medium


                                 Plaintiff Frontline's        Defendant CRS's Proposed
  Terms &amp; Patent(s)              Proposed Construction               Construction
(10) computer readable       Something on which information       "any medium that participates
medium                       may be carried that is               in providing instructions
                             readable by a computer               to a processor for execution
                                                                  including, but not
'519 Patent (Claims 13 and                                        limited to, non-volatile media,
30)                                                               volatile media, and transmission
                                                                  media such as, for example,
                                                                  optical or magnetic discs,
                                                                  dynamic memory, coaxial cables,
                                                                  copper wire, fiber optics,
                                                                  conductors that comprise
                                                                  a bus, acoustic, or electromagnetic
                                                                  waves such as those
                                                                  generated duringradio frequency
                                                                  and infrared data
                                                                  communications, floppy disks,
                                                                  flexible disks, hard disks,
                                                                  magnetic tape, magnetic media,
                                                                  CD-ROMs, DVDs, optical
                                                                  media, punch cards, paper
                                                                  tape, physical media with patterns
                                                                  of holes, RAMs,
                                                                  PROMs, EPROMs, FLASH-EPROMs,
                                                                  memory chips or
                                                                  cartridges, carrier waves, and
                                                                  other medium that a computer
                                                                  can read"

Frontline argues that this term uses common language that is clear and unambiguous, and should be used for its ordinary meaning. (Pl.'s Op. Br. 12.) CRS argues that Frontline inventors gave a specific definition for "computer-readable medium" in its patent specifications and that this definition is controlling here. See Phillips, 415 F.3d at 1316. CRS's proposed language is a condensed version of the specification.
Frontline responds that in order for this definition to replace the common language, it would have had to propose a definition that is inconsistent with the common usage. Phillips, 415 F.3d at 1316. Even if construed as the definition, it is only the first sentence that would be part of the definition. The examples should be left out. Thus, limiting the statement to "any medium that participates in providing instructions to processor 52 for execution."
CRS responds that, even if only the first line is used, the definition would be different than the "dictionary definition" that Frontline proposes. It would instead be, "any medium that participates in providing instructions to a processor for execution."
Generally, patent terms are bound to the definitions given by the specifications *613 in the patent as patentees can be their own lexicographer. However, CRS's proposed definition is not only a convoluted mess, it includes much more than necessary (i.e. all the examples). Thus, the Court will adopt as the definition the first line of the patent specification, "any medium that participates in providing instructions to a processor for execution."

4. substitute fulfillment

                                       Plaintiff Frontline's        Defendant CRS's Proposed
  Terms &amp; Patent(s)                   Proposed Construction               Construction
(11) substitute fulfillment          No construction necessary    "location of a replacement to
                                                                  fill a temporary employee
                                                                  absence in an organization"
'151 Patent (Claim 3, 6, 7, 16,
24, and 33)
'519 Patent (Claim 10, 13, 24,
and 25)
as well as position fulfillment
'519 Patent (Claim 30)

Frontline argues that this term uses common language that is clear and unambiguous, and should be used for its ordinary meaning. (Pl.'s Op. Br. 12.) CRS argues that its proposed language is what Frontline included in its patent specifications. CRS also argues that common sense should make the definition of "position fulfillment" (while this was not defined by Frontline in any patent) to have a parallel definition.
Frontline argues that it did not provide a special definition as the sentence in its patents (pointed to by CRS) actually reads, "To date, location of a replacement to fill a temporary employee absence in an organization, a process referred to as `substitute fulfillment,' has generally been an unreliable, labor-intensive, often panic-driven, process." Frontline argues that this was not an attempt to define the term as it is used in its patent.
Frontline did include this language in its patent but it is not in a specification, nor is it an attempt to define the term. Instead, it provided background regarding prior art. The term does not need construction as it is easy to understand. Thus, the Court will not define this term.

5. substitute/position fulfillment (terms 12-15)

                                       Plaintiff Frontline's        Defendant CRS's Proposed
  Terms &amp; Patent(s)                   Proposed Construction               Construction
(12) performing substitute        No construction necessary.   "performing centralized
fulfillment                                                    substitute fulfillment"
'151 Patent (Claim 3, 16, 24,
and 33)
'519 Patent (Claim 10 and 13)
(13) substitute fulfillment       No construction necessary.   "centralized substitute
system                                                          fulfillment system"
'151 Patent (Claim 6 and 7)


*614
'519 Patent (Claims 10, 13,
24, and 25)
(14) position fulfillment         No construction necessary.      "location of a worker to fill a
                                                                  position in an organization"
'519 Patent (Claim 30)
(15) performing position          No construction necessary.      "performing centralized
fulfillment                                                       position fulfillment"
'519 Patent (Claim 30)

Frontline argues that this term uses common language that is clear and unambiguous, and should be used for its ordinary meaning. (Pl.'s Op. Br. 12.) CRS argues, much like previous arguments, that Frontline has represented its patent to the Patent Examiner as a centralized system in order to distinguish it from prior art. CRS also points to language throughout the patent that implies that the system is a centralized system (i.e. "Plurality of organizations"). Thus, CRS argues that "centralized" should be added to these terms.
Frontline responds that the Patent Examiner only noted the "centralized" language where Frontline distinguished its patent from prior art. That is, that a "centralized system" is provided but is not necessarily the only system provided.
This argument is a much farther reach for CRS than the "accepting" language. The idea of the "centralized" system is referenced tangentially and not a large topic of the prosecution history. Thus, the Court will not define these terms.

6. posting


                                         Plaintiff Frontline's        Defendant CRS's Proposed
  Terms &amp; Patent(s)                     Proposed Construction               Construction
(16) providing, for one or              No construction necessary.   "providing by one or more
more of the positions, information                                   computers for one or more of
indicating directly                                                  the positions, information indicating
or indirectly an organization                                        directly or indirectly
worksite location for                                                an organization worksite location
the respective position                                              for the respective position
                                                                     on a website"
'151 Patent (Claims 3, 16, 24,
and 33)

Frontline argues that this term uses common language that is clear and unambiguous, and should be used for its ordinary meaning. (Pl.'s Op. Br. 12.) CRS argues that the inclusion of the phrase "by one or more computers" in the amended language also modifies this term. The language in Frontlines patent is as follows:
"generating and posting by one or more computers a list of one or more positions of one or more absent workers that need to be filled by one or more substitute workers on a website and providing, for one or more of the positions, information indicating directly or indirectly an organization worksite location for the respective position."
CRS argues that because the term "one or more computers" also modifies the term in question it should be added to that term as well. Frontline responds that rules of grammar indicate that this phrase "by one *615 or more computers" does not modify the end of the sentence. CRS responds that while grammar may indicate that the phrase does not modify this phrase, common sense requires it.
Although common sense indicates that one or more computers are needed to post the positions, CRS's proposed language does not seem to be required to reach this conclusion. Indeed, including CRS's language makes the sentence read strangely. This construction is not necessary. Thus, the Court will not define this term.

IV. CONCLUSION
For the reasons stated above, the Court will adopt the following claim construction below. An appropriate order will follow.

__________________________________________________________________________________________________________
             Terms &amp; Patent(s)                                            Construction
__________________________________________________________________________________________________________
(1) acceptance                                      No construction necessary.
'151 Patent (Claims 3, 6. 7.16. 24, and 33)
__________________________________________________________________________________________________________
(2) accepting                                       No construction necessary.
'519 Patent (Claims 10 and 13)
__________________________________________________________________________________________________________
(3) accepting                                       No construction necessary.
'519 Patent (Claims 24 and 25)
__________________________________________________________________________________________________________
(4) accepting                                       No construction necessary.
'519 Patent (Claim 30)
__________________________________________________________________________________________________________
(5) securing, in response to receiving the          automatically securing, in response to receiving
acceptance from the worker . . . the securing         the acceptance from the worker (3)27 the
comprising halting, at the one or more              securing comprising halting, at the one or
computers, further processing to fulfill the        more computers, further processing to fulfill
posted position with any other substitute           the posted position with any other substitute
worker                                              worker
'519 Patent (Claim 10)
__________________________________________________________________________________________________________
(6) securing, in response to the receiving a        automatically securing, in response to the receiving
response accepting step                             a response accepting step
'519 Patent (Claim 13)
__________________________________________________________________________________________________________
(7) securing, in response to the receiving a        automatically securing, in response to the receiving
response accepting step                             a response accepting step
'519 Patent (Claim 30)
__________________________________________________________________________________________________________
(8) securing, in response to the receiving a        automatically securing, in response to the receiving
response accepting step                             a response accepting step
'519 Patent (Claim 24 and 25)
__________________________________________________________________________________________________________
(9) securing, in response to the receiving a        automatically securing, in response to the receiving
response accepting step                             a response accepting step
'519 Patent (Claim 30)
__________________________________________________________________________________________________________
(10) computer readable medium                       any medium that participates in providing
                                                    instructions to a processor for execution
'519 Patent (Claims 13 and 30)
__________________________________________________________________________________________________________
(11) substitute fulfillment                         No construction necessary
'151 Patent (Claim 3, 6, 7, 16, 24, and 33)


*616
'519 Patent (Claim 10, 13, 24, and 25)
__________________________________________________________________________________________________________
(12) performing substitute fulfillment              No construction necessary.
'151 Patent (Claim 3, 16, 24, and 33)
'519 Patent (Claim 10 and 13)
__________________________________________________________________________________________________________
(13) substitute fulfillment system                  No construction necessary.
'151 Patent (Claim 6 and 7)
'519 Patent (Claims 10, 13, 24, and 25)
__________________________________________________________________________________________________________
(14) position fulfillment                           No construction necessary.
'519 Patent (Claim 30)
__________________________________________________________________________________________________________
(15) performing position fulfillment                No construction necessary.
'519 Patent (Claim 30)
__________________________________________________________________________________________________________
(16) providing, for one or more of the positions,   No construction necessary,
information indicating directly or indirectly
an organization worksite location
for the respective position
'151 Patent (Claims 3, 16, 24, and 33)
__________________________________________________________________________________________________________

ORDER
AND NOW, this 8th day of February, 2011, for the reasons set forth in the Court's accompanying memorandum dated February 8, 2011, it is ORDERED that the disputed claim terms shall be defined as follows:

__________________________________________________________________________________________________________
            Terms &amp; Patent(s)                                         Construction
__________________________________________________________________________________________________________
(1) acceptance                                      No construction necessary.
'151 Patent (Claims 3. 6. 7, 16. 24. and 33)
__________________________________________________________________________________________________________
(2) accepting                                       No construction necessary.
'519 Patent (Claims 10 and 13)
__________________________________________________________________________________________________________
(3) accepting                                       No construction necessary.
'519 Patent (Claims 24 and 25)
__________________________________________________________________________________________________________
(4) accepting                                       No construction necessary.
'519 Patent (Claim 30)
__________________________________________________________________________________________________________
(5) securing, in response to receiving the          automatically securing, in response to receiving
acceptance from the worker . . . the securing         the acceptance from the worker . . .
comprising halting, at the one or more              the securing comprising halting, at the one or
computers, further processing to fulfill the        more computers, further processing to fulfill
posted position with any other substitute           the posted position with any other substitute
worker                                              worker
'519 Patent (Claim 10)
__________________________________________________________________________________________________________
(6) securing, in response to the receiving a        automatically securing, in response to the
response accepting step                             receiving a response accepting step
'519 Patent (Claim 13)
__________________________________________________________________________________________________________
(7) securing, in response to the receiving a        automatically securing, in response to the
response accepting step                             receiving a response accepting step


*617
'519 Patent (Claim 30)
__________________________________________________________________________________________________________
(8) securing, in response to the receiving a        automatically securing, in response to the
response accepting step                             receiving a response accepting step
'519 Patent (Claim 24 and 25).
__________________________________________________________________________________________________________
(9) securing, in response to the receiving a        automatically securing, in response to the
response accepting step                             receiving a response accepting step
'519 Patent (Claim 30)
__________________________________________________________________________________________________________
(10) computer readable medium                       any medium that participates in providing
                                                    instructions to a processor for execution
'519 Patent (Claims 13 and 30)
__________________________________________________________________________________________________________
(11) substitute fulfillment                         No construction necessary
'151 Patent (Claim 3, 6, 7, 16, 24, and 33)
'519 Patent (Claim 10, 13, 24, and 25)
__________________________________________________________________________________________________________
(12) performing substitute fulfillment              No construction necessary.
'151 Patent (Claim 3, 16, 24, and 33)
'519 Patent (Claim 10 and 13)
__________________________________________________________________________________________________________
(13) substitute fulfillment system                  No construction necessary.
'151 Patent (Claim 6 and 7)
'519 Patent (Claims 10, 13, 24, and 25).
__________________________________________________________________________________________________________
(14) position fulfillment                           No construction necessary.
'519 Patent (Claim 30)
________________________________________________________________________________________________________
(15) performing position fulfillment                No construction necessary.
'519 Patent (Claim 30)
__________________________________________________________________________________________________________
(16) providing, for one or more of the positions,   No construction necessary,
information indicating directly or indirectly
an organization worksite location
for the respective position
151 Patent (Claims 3, 16, 24, and 33)
__________________________________________________________________________________________________________

AND IT IS SO ORDERED.
NOTES
[1]  This Court has jurisdiction, pursuant to 28 U.S.C. §§ 1331 and 1338.
[2]  In its counterclaims, CRS asserts seven counts. Count I seeks a declaratory judgment that CRS did not infringe the '151 Patent. Count II seeks a declaratory judgment that the '151 Patent is invalid. Count III seeks a declaratory judgment that CRS did not infringe the '519 Patent. Count IV seeks a declaratory judgment that the '519 Patent is invalid. Count V seeks a declaratory judgment that the CRS did not breach the '151 Patent limited license agreement. Count VI is for breach of contractwrongful contract termination as to the '151 Patent license agreement. Count VII is a breach of contract for § 3.3 of the parties' license agreement.

